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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                               CRIMINAL 11-0495CCC
 1) WILLIAM ZAMBRANA-SIERRA
 2) OMAR RIVERA-ROSARIO
 3) ANGEL L. COTTO-NEGRON
 4) XAVIER CASTRO-VEGA
 Defendants


                                         ORDER

       Having considered the Report and Recommendation filed on May 21, 2012 (docket
entry 93) on a Rule 11 proceeding of defendant William Zambrana-Sierra (1) held before
U.S. Magistrate Judge Bruce J. McGiverin on May 18, 2012, to which no objection has been
filed, the same is APPROVED. The Court FINDS that defendant’s plea was voluntary and
intelligently entered with awareness of his rights and the consequences of pleading guilty
and contains all elements of the offense charged in the indictment. However, the Court will
defer its decision on accepting defendant’s Fed. R. Crim. P. 11(c)(1)(C) Plea Agreement
until it reviews the Presentence Report as permitted by Fed. R. Crim. P. 11(c)(3)(A).
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since May 18, 2012. The sentencing hearing is set for August 16,
2012 at 4:30 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on June 13, 2012.



                                         S/CARMEN CONSUELO CEREZO
                                         United States District Judge
